        Case 2:19-bk-10489-BR                      Doc 41 Filed 09/30/19 Entered 09/30/19 09:10:44                                         Desc
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Information to identify the case:
Debtor 1              Stephen Golden                                                           Social Security number or ITIN          xxx−xx−2314
                      First Name   Middle Name   Last Name                                     EIN    95−4680497
Debtor 2              Karen Golden                                                             Social Security number or ITIN          xxx−xx−0596
(Spouse, if filing)
                      First Name   Middle Name   Last Name                                     EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Central District of California

Case number: 2:19−bk−10489−BR



Order of Discharge − Chapter 7                                                                                                                      12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Stephen Golden                                                           Karen Golden
           aka Stephen Rawliegh Golden, aka Stephen R                               aka Karen Diane Golden, aka Karen D Golden
           Golden
                                                                                     [include all names used by each debtor, including trade names, within
            [include all names used by each debtor, including trade names, within   the 8 years prior to the filing of the petition]
           the 8 years prior to the filing of the petition]
                                                                                    Debtor 2 Discharge Date: 9/30/19
           Debtor 1 Discharge Date: 9/30/19



           Dated: 9/30/19
                                                                                    By the court: Barry Russell
                                                                                                  United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                                      This order does not prevent debtors from paying
and it does not determine how much money, if                                        any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                                debts according to the reaffirmation agreement.
                                                                                    11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                           Most debts are discharged
attempt to collect a discharged debt from the                                       Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                          all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                                     personal liability for debts owed before the
or otherwise try to collect from the debtors                                        debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                                    Also, if this case began under a different chapter
in any attempt to collect the debt personally.                                      of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                                    to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                         are discharged.

However, a creditor with a lien may enforce a                                       In a case involving community property: Special
claim against the debtors' property subject to that                                 rules protect certain community property owned
lien unless the lien was avoided or eliminated.                                     by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                       not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                                                                  41/AUT
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Some debts are not discharged                                Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:               agreement are not discharged.

     ♦ debts that are domestic support                       In addition, this discharge does not stop
       obligations;                                          creditors from collecting from anyone else who is
                                                             also liable on the debt, such as an insurance
                                                             company or a person who cosigned or
     ♦ debts for most student loans;                         guaranteed a loan.


     ♦ debts for most taxes;
                                                              This information is only a general summary
     ♦ debts that the bankruptcy court has                    of the bankruptcy discharge; some
       decided or will decide are not discharged              exceptions exist. Because the law is
       in this bankruptcy case;                               complicated, you should consult an
                                                              attorney to determine the exact effect of the
                                                              discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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